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                     you who filed a report of concern, nor am I able to release any
                     information except that which you provided to us directly; as we
                     did not interview you as part of our investigation, there is little
                     information that I am able to release to you.

                    However T cau tell you thi:: following: our office has rc-ceived only
                    one report, on January 18, 2012, listing you as the alleged
                    perpetrator of elder abuse, against your mother, Carol Oulton.
                    There were no accompanying police reports. We investigated the
                    allegations against you, but they were unsubstantiated (emphasis
                    added).

          386. On May 31, 2013, Attorney Sweeney-2 filed a bond in the matter of the Estate of

Donald. He fraudulently estimated the value of personal estate at $30,000 (Exhibit 118)

because, although he is the author of Donald's Will, he and others have refused to honor

Donald's last wishes, including the 30-Day Survivorship Clause in Donald's Will..

          387. On June 3, 2013, Plaintiff mailed a second letter (Exhibit 119) to April Evans at

Springwcll Protective Agency. This letter requested three additional pieces of information as

follows:

                    1. Given that nobody from Springwell contacted me to discuss the
                    complaint that was filed against me, how did Springwell
                    investigate the allegations that were made against me and
                    determine that they were unsubstantiated?

                    2. Did Springwell notify the Reporting Party ("RP") that the
                    investigation conducted by Springwell concluded that the
                    allegations against me were unsubstantiated?

                    3. If Springwell did, in fact, notify the RP of the results of the
                    investigation, on what date and through what medium (mail,
                    telephone, email, etc.) were the results of the Springwcll's
                    investigation of me transmitted to the RP?

          388.       Note that Plaintiff was never contacted by the investigative authority, even

though the complaint against Sarah came from a mandated reporter.



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          389. On June 6, 2013, April Evans of Springwell mailed Plaintiff a letter (Exhibit 120)

in response to her June 3, 2013, letter requesting further information. The letter stated as

follows:

                    A. An investigation vias coinpicted in your mothes ease;
                    collateral sources of information were interviewed and provided
                    information leading to our unsubstantiation of the case.

                    2. Springwell is required to alert mandated reporters to the
                    outcome of the investigation that was based on their report. Non
                    mandated reporters may or may not receive a follow up from
                    Springwell, depending on many factors. I am not able to tell you
                    who made the report to Springwell and thus cannot tell you
                    whether or not we alerted them to the outcome.

                    3. I can only answer this question by repeating the information
                    above in number two. Sometimes we alert reporters to the
                    outcome by phone, sometimes by email, sometimes by letter,
                    sometimes in person, and, as stated above, sometimes not at all.

          390. On June 10, 2013, a Petition for Appointment of Special Personal Representative

(Exhibit 121) was filed by Attorney Masterson in the matter of the estate of Carol Oulton, on

behalf of creditor Colonial Health Group-Westridge, LLC. The petition states that to protect the

short statute of limitations, in regard to creditors, the creditor seeks the appointment of a special

personal representative given that both the petition for informal probate and the petition for

formal probate are objected to and thus there will be a delay in the appointment of a personal

representative. The petition also states that a bond without sureties has been filed and is

permissible because the Will waives sureties on the bond and no interested person has demanded

that a bond with sureties be filed.

          391. In contrast with Masterson's false statement, Plaintiff had asked for a bond to be

filed.




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          392. On June 10, 2013, Probate of Donald's Will (allegedly executed on June 28, 2000)

commenced (Exhibit 122), after Attorney Sweeney-2 filed for formal probate and appointment of

personal representative. Again Sweeney is desperately seeking to be appointed PR of one of the

Oultons' estates, despite the wills having a named executor.

          393. Note that Attorney Sweeney-2 probated the Will of Donald on the same day that

the Defendants moved to appoint Attorney Couture as Special Personal Representative, almost 7

months after the Oultons had passed away.

          394. As of the present date, no Personal Representative has been appointed for the

Estate of Donald. Attorney Sweeney-2 is currently the "Proposed Fiduciary."

          395. Key issues with Donald's Probate File are that

          (1) the dates on Will and Codicil are handwritten without initials of Dad;

        (2) Sweeney and Moylan purposely state in their petitions to the Court that the children
are not devisees under the Will when, in fact, ONLY the children inherit under Dad's Will
because Mom did not survive him by 30 days, as is required under Paragraph Seven of the Will
that Sweeney drafted for Dad; and

       (3) Judge Abber wrote that Mom's Probate must be closed completely before Dad's can
proceed; and

      (4) the ink used in the date appears to he different from that used in the rest of the
document.

          396. On July 17, 2013, Attorney O'Regan and Susan Searles mailed Plaintiff affidavits

(Exhibit 123) in regards to the telephone conversations with Michael Lincoln. The affidavit of

O'Regan states that Michael Lincoln stated that there were no restrictions on Plaintiff's ability to

visit her parents.

          397. NOTE of key importance is that Lincoln, is his call to O'Regan on February 23,

2012, never mentioned the alleged January 18, 2012, incident at Marlborough Hills. Instead,



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Lincoln informed Attorney O'Regan that there was no problem with Plaintiff visiting her

parents.

          398.       On July 19, 2013, Attorney Couture filed a bond with corporate surety

(Exhibit 124) Bond # 1000962445 with the Middlesex Probate and Family court in docket

# M113P1828EA In re the estate of Carol Oulton. The bond states that the estimated value of

personal estate is $250,000.

          399.       Of importance to note is that the bond filed by Attorney Couture was not paid at

the time he filed it and, in fact, Attorney Couture paid this bond with assets of the Estate of

Carol.

           400.      On July 19, 2013, an invoice (Exhibit 125) from A.A. Dority to Couture, was

sent to Michael Couture. On this invoice Michael Couture handwrote "Pay from Executor Estate

Account" The Bond Invoice says, "This is an annually renewable premium. Court judgment

needed to release bond."

          401.       On July 22, 2013, an outstanding invoice (Exhibit 126) from Clifford G. Risk,

M.D. was sent to Carol Jane Oulton at 54 Macarthur and then (by hand) forwarded to Carol B.

Illadick at 20 Causeway Street, Medway, MA. The invoice billed for a procedure on December

5, 2012. —The charges on the invoice are as follows: $300..00 — Paid by Primary: $0.00 —

Paid by Secondary: $111.86 — Adjustments: $136.86 — Total Due: $51.28.

          402.       Note that the date of last payment by insurance company was May 18, 2013. This

shows, yet again, that the Oultons had not been paying their bills on time, contrary to the

fallacious statements of the Defendants above.




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           403. On July 25, 2013, a hearing was held before Judge DiGangi at the Middlesex

County Probate and family Court (Exhibit 127). The parties at the heating were sworn and

stated the following under oath:

      JEROME SWEENEY: Pm, an attorney and I'm, uh, opposing the, uh, Petition but
      I'm also asking to be the, uh, Personal Representative. I was the author of the Wills, the
      Codicils, and named in the, uh, Wills as the:.. nominated to be the, uh...

      JUDGE DIGANGI: Personal?

      JEROME SWEENEY: Personal Representative.

      JUDGE DIGANGI [ADDRESSING MICHAEL COUTURE]: And you, please?
      What's your involvement in this case?

      DEBORAH MASTERSON: This is ATTORNEY COUTURE. He is the proposed
      SPR.

      JUDGE DIGANGI: Okay. And you?

      DEBORAH MASTERSON: I am the counsel for the creditor. My name is
      DEBORAH MASTERSON.

      SARAH OULTON: And I'll make one other correction to his introductory remark.
      The... he's not the named Personal Representative or Executor in the Will that's
      currently been filed. The most recent Will, executed on April 19, 2001, named another
      attorney [REFERRING TO GERARD MAHANEY] as the Executor of my mom's
      estate.

      JEROME SWEENEY: That's not correct, Your Honor. I think the, uh, issue here is
      the Codicil of the deceased, uh, was in some, uh, contention because of a scrivener's
      error that put the date of it different than the signatuie date on the, uh, Codicil. And the
      reason was that both were prepared together husband and wife — and then the
      reference was made to the date on the husband's signature. That date was thought to be
      they signed them together but they didn't. The wife signed them nine months later. But
      both Codicils were signed properly except that the dates were not identical.

      JUDGE DIGANGI: What's before me today?

      DEBORAH MASTERSON: What's before you today, Your Honor, is I represent the
      creditor. And there are dueling cross-petitions for formal probate, both of which have
      been objected to. I want to get on with filing my suit to protect my statute of
      limitations. Marlborough Hills, uh, filed nursing, ub, gave nursing home services to
      both Mr. and Mrs. Oulton. They both died within a week of each other, um, and so I'm
      trying to perfect my client's right to he paid. We're owed over seventy thousand dollars
      (S70,000). Nothing's going to happen with these dueling cross-petitions that have been

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      objected to. Urn, I'm proposing Attorney MICHAEL COUTURE, who has filed a
      corporate bond for two hundred and fifty thousand dollars ($250,000). It's a temporary
      appointment for ninety (90) days, as you know. An SPR has to be renewed every ninety
      (90) days. Urn, my understanding is that Attorney Sweeney's objecting because he
      thinks he should be the SPR and urn, Ms. Oulton is objecting because she doesn't even
      think it should be heard today. So I don't know how you want to go about this. We're
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      have a Motion, so I don't know....

      JEROME SWEENEY: Your Honor, I would like to have this thing ended today. I
      thought that it would be appropriate that I be the Special Personal Representative
      because I hoped to be the Personal Representative and I have no opposition to the
      payment of this bill to the creditor. I wish to get it paid immediately and go forward
      with it and end this thing. I certainly do oppose any continuance or extension. I
      received this....

      JUDGE DIGANGI: Well let me hear her Motion first and then I'll let you respond to
      her Motion, okay? Let's put things in order. So what do you want to, why should this
      be continued?

      SARAH OULTON: Well, I'll preface this by saying I am a former client of JEROME
      SWEENEY the Second, Your Honor, and I have not waived my Attorney-Client
      Privilege with this attorney, nor have I given up my right to the Duty of Confidentiality
      that he owes me under the law. Furthermore, pursuant to the Rules of Professional
      Conduct I have not waived my right or given him consent to represent the other
      Devisees in this matter, which, through his actions, he has done up until this point.
      They have conspired, since the admission of my parents to the nursing home, to remove
      me from the lives of my parents. And I heard you speak [REFERRING TO A
      HEARING HELD BEFORE JUDGE DIGANGI EARLIER IN THE DAY], just a
      while ago, about a dad who was not allowed to see the son when there was no Order in
      effect. Similarly, there was never a court order in effect barring me from the
      relationship with my parents. Rather, they effected that separation of my mom and dad
      and me through defamatory statements, fraud....

      JUDGE DIGANGI: I can't un-ring a bell.

      SARAH OULTON: I understand that, Your Honor.

      JUDGE DIGANGI: What do you want me to do about that?

      SARAH OULTON: Well, but, because they utilized that so that they can split the
      estate into an estate divided by three rather than by four, which was in accordance with
      the testator's wishes, under the Wills that this gentleman [POINTING TO JEROME
      SWEENEY] drafted. And Your Honbr, furthermore, during the course of my parents"
      hospitalization at Marlborough Hills, my dad was in the Alzheimer's Unit and my
      mother was who knows where? She had been, experienced at least two comas and a
      drug overdose administered by the hospital. I'd like to continue this so that evidence

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      related to these matters can be introduced. And furthermore, they executed Powers of
      Attorney giving my sister the authority to sign the house over to whomever she wanted
      and up until now, again, I just discovered this evidence last night but the POAs should
      be voidable, or are voidable, due to the incapacity of my parents at time that they
      executed them.

      JUDGE DIGANGI: In reality. I can understand where somebody might say there
      might be a conflict of interest in this case. Is it im.... I don't know that it's imperative
      that you be the PR in this case. I think what's imperative that we move this case along.

      JEROME SWEENEY: I agree with you 100%, Your Honor.

      JUDGE DIGANGI: And I, I, uh, you know, I don't doubt your credentials. And I'm
      not, uh, this isn't an aspersion, I'm not casting any aspersions on your integrity or any....
      I just want to avoid, uh, the image of impropriety, so to speak. And, again, it's no
      reflection on you, sir.

      JEROME SWEENEY: I understand that, Your Honor....

      JUDGE DIGANGI: But I think, to keep this clean, I think we need to get somebody
      else.

      JUDGE DIGANGI: How does this gentleman come into this case? You found him,
      or... ?

      DEBORAH MASTERSON: I, I suggested... [ADDRESSING MICHAEL
      COUTURE] Do you want me to answer that?

      MICHAEL COUTURE: Well, I was nominated by the creditor's attorney, by
      Attorney Masterson. I'm an independent party. I don't know the family.

      JUDGE DIGANGI: You're an attorney, sir?

      MICHAEL COUTURE: I'm an attorney.

     DEBORAH MASTERSON: Okay, well, so then, I, I'm thrilled to hear that you're,
     you'll, you're gonna want to hear my Motion. I think that an SPR is in order.
     Obviously there's a lot of intra-family disputes and while they're playing out and trying
     to decide who is the appropriate PR in the Will I wanna get on with my filing of the
     suit. You should also know that I had asked Attorney Sweeney to file the will of Mister
     Oulton which, there was a big delay in that.... I believe it has been filed? I think that
     this is all gonna play out also in Mr. Oulton's estate so I was hoping to get both Mr. and
     Mrs. Oulton's bill paid from Mrs. Oulton's estate. So I don't know if the cases should
     be consolidated? I know it's not on today. I don't know whether I'm going to be
     moving for an SPR in that. I'm, I'm just trying to keep costs down. I, I, he [POINTING
     TO MICHAEL COUTURE] has no dog in the race. I just wanna...



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      JUDGE DIGANGI: [TO MICHAEL COUTURE] Arc you sure you want to be
      involved in this?

      MICHAEL COUTURE: I am up for the challenge.

      SARAH OULTON: Your Honor, if I may please be heard? As I mentioned, there
      were Powers of Attorney granting powers to transfer the property through fraudulent....

      JUDGE DIGANGI: I'm not hearing the case today, Ma'am.

      SARAH OULTON: I understand. But it's imperative that you know, from my
      perspective, please, that this gentleman [gesturing to MICHAEL COUTURE] is not a
      disinterested third party. He's the classmate of [JASON PORT] the lawyer who put that
      whole scheme together, Your Honor, and I don't trust, I've not seen, as a Devisee, I've
      not seen...

      JUDGE DIGANGI: Do you know anything that she's talking about?

      SARAH OULTON: ... as a Devisee under the                          [LOOKING AT MICHAEL
      COUTURE]... you're a friend of JASON PORT...

      MICHAEL COUTURE: I am not a friend, I am not a friend of Jason Port's
      [LAUGHING]

      SARAH OULTON: Well, that's not what I understand.

      JUDGE DIGANGI: Okay, folks....

      JEROME SWEENEY: Your Honor, I withdraw my objection to him [GESTURING
      TO MICHAEL COUTURE] being appointed as Special Personal Representative.

      SARAH OULTON: May I be heard on one other matter, Your Honor?

      JUDGE DIGANGI: Yes, Ma'am.

     SARAH OULTON: Because, truly, through their campaign of defamation, which they
     will be held accountable for in another forum, and I'll file Motions to Strike with this
     Honorable Court to deal with those defamatory statements and lies, um, through that,
     they effectively barred me from seeing my folks. They kept me from attending the
     funerals. Again, no Court Order in place. No history that anyone can prove. It's
     simply that three children got together and said, "Let's exclude the fourth.... "

      JUDGE DIGANGI: Well, that might've been the wishes of your parents. I don't
      know.

     SARAH OULTON: But if it were, Your Honor, they were surrounded by lawyers
     during the last 14 months of their lives....

     JUDGE DIGANGI: So what?
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       SARAH OULTON: They never disinherited me from the Will. They had ample
       opportunity....

       JUDGE DIGANGI: What does the Will provide you?

       SARAH OULTON: It provides me with an equal portion of the estate.

       JUDGE DIGANGI: Okay.

       JEROME SWEENEY: It was never changed!

      JUDGE DIGANGI: Allright.

      SARAH OULTON: It was never changed, and Your Honor....

      JUDGE DIGANGI: So what are you contesting?

      SARAH OULTON: What I'm contesting is that they've already sold the house,
      they've distributed all of the personal effects, they've made inter vivos transfers,
      they've avoided the hotch-potting of the estate, and I have not been notified of any of
      those actions that they've taken

      JUDGE DIGANGI: Did they, has she been given any Accounting?

      SARAH OULTON: No.

      JUDGE DIGANGI: Have any Accountings been filed? Nobody's been appointed yet.

      JEROME SWEENEY: Nobody's been appointed yet, Your Honor. This was all done
      with their wishes and it was done while they were still alive. [LAUGHS]

      SARAH OULTON: But under the law the Devisees were to be notified of the
      distribution of the estate, Your Honor.

      DEBORAH MASTERSON: Your Honor, I want to say that the Police Report is in the
      Creditor's Affidavit and the facility did issue a No Trespass Order because of her antics
      and it was at the suggestion of the Marlborough Police Department.

      SARAH OULTON: And I will, Your Honor...

      JUDGE DIGANGI: PLEASE. I'm not trying the case today. There are only a couple
      of Motions in front of mc. 1 have other people waiting. I'm going to appoint this
      gentleman [POINTING TO MICHAEL COUTURE] as the, uh, Personal
      Representative. Period of 90 days. He has a bond ready?

      DEBORAH MASTERSON: Yes, it's with you, Your Honor. Corporate.

      JUDGE DIGANGI: Alliight, and you have, uh, your Motion to be heard or I'm gonna
      accept your...

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      DEBORAH MASTERSON: I do, and I have a Proposed Order.

      JUDGE DIGANGI: Allright then. Mr. Couture, Attorney Couture is appointed.

      SARAH OULTON: May I ask you a question, Your Honor?

      JUDGE DIGANGI: Yes, Ma'am.

      SARAH OULTON: With respect to the Accounting, then?

      JUDGE DIGANGI: Yes?

      SARAH OULTON: When will I receive an Accounting?

      JUDGE DIGANGI: When you're entitled to it.

           404.      None of the Defendants in this matter have, to date, ever answered Plaintiffs

questions regarding the delay in probating the Will of Donald.

           405.      The Defendants willfully and knowingly violated the 30-Day Survivorship Clause

in the Will of Donald and they refused — until they learned of this lawsuit — to submit even one

Accounting to the Middlesex County Probate and Family Court in either the Estate of Carol or

the Estate of Donald.

           406.      As of the filing date of this lawsuit, Attorney Couture has been the appointed

fiduciary for the Estate of Carol for 881 days.

          407.       On July 25, 2013, the court issued an order (Exhibit 128) appointing Couture as

Special Personal Representative for a period of 90 days. A hearing was scheduled for October

31st.

          408.       On August 2, 2013, Mirick sent an invoice (Exhibit .129) to the Estate of Carol

Jane Oulton c/o Michael Couture. .




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          c/0 2$Ich401 Couture, Esq.                                                     Invoice Number 2670S5
          440 Broadway
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         Natter 0 Natter Name                                                       Services      Disbursementa

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                     TOtal Services and Disbursements.               .                                $1,964.61

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                  The Firm's practice is to annually review and consider adjustments
                  to hourly rates effective at the end of Juno. It the hourly rates of
                  attorneys and paralegals providing services for you Are increased, thooe
                  increases will bo reflected on invoices for work on and alter July lot.

                                     PLEASE youcr PAYMENT ON OR WORE 'AutiosT 31, 2013




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        MIRICK, O'CONHRLI,                                                              Page 2
                                                                                     Invoice Herber 297055
      24520 Oulton, Carol and Donald, Rotate of
        00001 Botate Adminintration


           Date             Services

           12/05/12         Email to and call from Brenda Coate regarding prepaid
                            funeralni omail - to Hancy.Williama and Carol Hladick:
                            regarding same.
           12/05/12         Review statue of funeral contract.
           12/11/12         Review atatue-of Applicationene D(4)(0.
           12/17/12         Review diocharge from Middleoex Bevinga1.
                            oorreapohdenco with oppboing .coonnill- regarding
                           .dincharge.
           12/19/12         Email to and calla to and from Nancy wilutprz
                            regarding innorance matters obtain advice from
                            Attorney port regarding came, review file for Social
                            Security novbern for children: telephone to fancy
                            williamo regarding came.
           12/19/12         Conference regarding life ineurence and Probate innUca.
           12/20/12         Cello from and to fancy William regarding fUnaral
                            contzecto; obtain advice from Attornoy Port regarding
                            kb* name,
           12/20/12         Conference regarding KantelealthAppli&itiOn.
           12/26/12         Conference with client regarding prabate'iesues.
           12/26/12         1Smailo with Jaoon Port regarding KaaoHeaIth strategy.
                            issues.
           12/27/12         Advice regarding probate of,Kra. Oultoato entate.
           12/27/12         Coati:raneewith Attorney Moore regarding probate issue.
           12/28/12         Conference with N. Williams regarding funeral
                            arranyerAmtat review invoice°, conference with funeral
                            director regarding costa, conference with Dolphin
                            Rentaurant regarding coats; correepend with all
                            regarding checka for payment.
           1201/12          Conference regarding payment° to windoza and probate.
           01/07/13         Conference with Iv. Williams regerding probate iomUes.
           0100/13          Draft apreadnhoot detailing anaoto in Oulton eetates.
           01/00/13         Confaroncewith Marlborough Hillo regarding payment;
                            review account balances; correspond with fancy

           01/29/13         Correspond with client regarding status of probate;
                            conference regarding otatu° of entaten.
           02/01/11         Review correopondente fro client regarding Probate;
                            conference with Attorney Sweeney regarding Probate .of
                            Eutaten.
           02/13/13         Review otatun of matter] contact client to review
                            statue of probate of eatato.




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      24520 °viten, Carol and Donald, Zstate of
        00001 Estate Xdzinietration

               Date         Services

               03/30/1)     Review correspondence frog Marlborough Hills;
                            correspond with Harlborough Willa regarding probate of
                            estates.
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                            Marlborough Hilla jolvten
               45/06/13     Reviss correeponoUnce fraHiLJUIliap:s; correspond
                            with N. Williams regardIns_stAt.14 of estate
                            administration.
               05/21/13     Correopoad withAtornayAsetoraom regarding etatua.
               05124/13     Conference withKttorney EasgE5Ind regarding Special
                            Pereonal Repreeentative.

                       Total Services                                                            41,055.00


               Data         Disburaement°

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                            Fax                                                                       1.50
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               11/27/12     Federal Expresa - VEN00R: Federal Sxprese                                12.44
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               11/27/12     Federal Srpress - VUNDORg Federal &Tress                                 12.04
                            CorporatiOn/jjp
               12/20/12     Federal Express     - VENDOR: Federal Expreas                             8.79
                            Corporation
               12/28/12     Federal Srpress - - VRIHOORI Federal E.r.preas                           67.82
                            Corporation


                      Total Disburuementn                                                          $109.63

                      Total Services and Disburnemento                                           0,964.63




                409. On August 2, 2W 3, Mirick O'Connell sent a DEMAND for payment of $1,964.63

                      and stated that Mirick wanted the payment by end of month. "Please remit payment



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                  on or before August 31, 2013." The demand attached a copy of the invoice listed

                  above and described in the table above.


          410.      On August 5, 2013, seven months after the Oultons passed away, Mirick

O'Connell issued a check (Exhibit 130) payable to Carol Jane Oulton in the amountof

$184,449.10. This check was drawn from an attorney's IOLTA account at People's United

Bank.

          411.      On August 5, 2013, a Marlborough Hills invoice, for services allegedly rendered

to Donald Oulton ("Resident No. 126866) (Exhibit 131), was mailed to Carol Hiadick at 20

Causeway Street, Medway, MA 02053 by Marlborough Hills. The amount of the invoice

BILLED TO CAROL HLADICK, who fraudulently executed the invalid contracts with

Marlborough Hills, is $36,755.71

          412.      The Marlborough Hills invoice is addressed to C. Hiadick because C. Illadick was

the obligor on the Marlborough Hills contract. C. Hiadick, without legal authority, executed the

contract with Marlborough Hills, and Marlborough Hills knew or should have known that C.

Hladick did not have legal authority to contract on behalf of Donald or Carol. Note, however,

that both parties to the Oultons' Admissions Contracts knowing entered into the contracts when

C. Hladick clearly had no authority to contract for the incapacitated Oultons.

          413.      NOTE — DATES OF SERVICE Start: 2011.12-08 — End: 2012-12-18

          414.      A screcnshot of the invoice sent from Marlborough Hills to C. Hladick for

services Marlborough Hills allegedly rendered to Donald follows:




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                                           Statement of Account
       MARLBOROUGH HILLS
       121 NOR THBORO ROAD EAST                                                  RE; Dutton, Donald
       MARLBOROUGH, MA 01752
       508-485-4040                                                Rastdent No,      126868

       Mall check or money order payable to location above.



      Carol Wadlck
      20 CauseWay Street
      Medway, MA 02053                                                        INVOICE DATE                    8/512013
                                                                                  AMOUNT DUE:            $ 32,6/0.63


                                                                                         Payrnental
               Description                 Date           Days         Charges                                Balance
                                                                                          Crodlts
                                                                                                          3          -
      Medicare co-pay @141.60   1210-12/22/2011               14   5     1,98t.00                         $     1,831.00
      Medicare co-pay @I44.50   01/01411/31/2012              31   $     4,470.50                         $     6,4E0.60
      Morroare co-pay @144.50   02/01-02/14/2012              14   $     2,01,3.00                        5     8,483.60
      3-Bod Room @316            2/15-02/29/2012              15   S     4,740.00                         S    13,223.50
      3-Bed Room @316             3/1-03/31/2012              31   S     9,798.00                         S    23,019.50
      5-Bad Room @3 16            411-04/30.12012             30   $     9,480.00                         $    32,499.50
      3-Bad Room @318.            5/1-05/31/2012              31   3     9,706.00                         $    42,295.50
      3-Bed Room @318         ' 05/01.06/07/2012              7    9     2,212.00                         $    44:507.50
      3-Bed Room @ale         ' 08/20.06/30/2012              11   $     3,478,00                         $    47,933.50
      Payment- chisti 8790    ' February 23, 2012                                    $         (2,399.00) S    45,584.50
      Payment -Ohk118808          June 12,2012                                       $         (5,000.00) S    40,584.50
      3-Bed Room (016            7/1.07/31/2012               31   $     9,766.00                         $    50,380.50
      3-Bed Room @316            8/1-08/31/2012               31   S     9,798,00                         $    80,176.50
      3.8ed Room @316            9/1-09/3112012               30   S     9,480.00                         5    69,656,50
      3-BedRoom @318             10/1-10131/2012              31   S     9,790.00                         $    79,452.50
      3-Bed Room @316            11/1-11/30/2012              30   5     9,480.00                         S    88,932.50
      3-8ad Room @316            12/1-12118/2012              18   $     6,688.00 $           (61,949.67) $    32,570.83




                                                                   5 102,019.50 $             (69,348.67) S    32,670.83
                                                                   Payable lo Full
                                                                   Upon Reoelpt                                32,870.83




         415. On August 5, 2013, an invoice, for services allegedly rendered by Marlborough

Hills to Carol Oulton ("Resident No. 126126851) (Exhibit 132), was mailed to Carol Illadick at

20 Causeway Street, Medway, MA 02053 by Marlborough Hills. The amount of the invoice

BILLED TO CAROL HLAD1CK, who fraudulently executed the invalid contracts with



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Marlborough Hills, $36,755.71. It fraudulently lists the start date of service as:

Start - 2012-01-06 End: 2012-12-18.

          416.      Carol was overdosed at Marlborough Hills on December 1, 2011, and was

residing at UMass Memorial Hospital in Worcester on January 6, 2012, the date that

Marlborough Hills claims is Carol's admission date.

          417.      Marlborough Hills likely did not report Carol's life-threatening overdose and has,

therefore, also likely altered its records in an attempt to bury the evidence of the overdose.

          418.      A screenshot of the invoice sent from Marlborough Hills to C. Hladick for

services Marlborough Hills allegedly rendered to Carol follows:




                                                             110
Oulton Hladick, et al. — Verified Complaint and Demandfor July Trial
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                                                 Statement of Account
       MARLBOROUGH HILLS
       121 NOR1HBOR0 ROAD EAST
                                                                                       RE: Oulton, Corot
       MARLBOROUGH, MA 01782
       W8485-4040                                                           Reel(lent No. 126851
       Map check or money order payable to tocer.on above,



       Corot filecEck
       20 Causeway Street
       Medway, MA 02083                                                                   INVOICE DATE              8/5/2513
                                                                                            AMOUNT DUE:       S 38,755.71


               Deription                  Date                 Caya             Charges        Peymenrs/
                                                                                                                  Bolen°
                                                                                                Crocffts
                                                                                                              S           -
   Medicare arpay @144.50          01/08-01/23/2012             18          $    2,601.00 '                   $     2,801.00
   Medicare co-pay @144.50         03/14-03/31/2012             18          S    2,601.00                     5     5,202.00
   Mecca' co-pay o 144,50           04/1.04/1812012             18          S    2,601.00                     S     7,803.00
   Motile:are co-pay (41/144.50    05/01-05/12/2012             12          S    1,734.00                     $     9,537.00
   Medicare co-pay 0144.50         05128.05/31/2012              4          S      578.00                     $    10,115.00
      Payment check #8790                                                               $          (2.801.00) 5     7,614.00
    Semi-Prtvata Room (5?327       05/23-05/27/2012              5          $ 1,635.00                        S     9,149.00
    Seml-Prtvule Room 0321         0811-08/30/2012              30          $ 9,810,00                        S    18,959,00
    Seml•PrIvale Room E9327        07/1.07/31/2012              31          $ 10,137.00                       5    25,095,C0
    Semi-Priv:31e Room @327        08/1-08(3112912              31          $ 10,137.00                       S    39,233.00
    Se:W.-Privet° Room @327        09t1-O9/ 3012012             30          $ 9,810,00                        $    49,043.00
   Seml-Pfivate Room @327          10/1-1013112012              31          S 10,137.00                       $    59,180.00
   Sorel-Private Room @327         11/1-11/30/2012              30          5 9,810.00                        5    68,980.00
   Semi-Mete Room Q327             1711-12/24r2012              24          $ 7,048.00 S          (40,082,29) $    36,755.71




                                                                             $ 79430.00 S        (42,883.28),.$   36,755.71
                                                                            Payable In Full
                                                                            Upon Recorpt                     5    38,755.71

  i_




             419. On August 5, 2013, Attorney Masterson transmitted a lawsuit (Exhibit 133)

Colonial Ilealth Group-Westridge, LLC, d/b/a Marlborough Hills Healthcare Center v. Michael

Couture, Esq. Special l'ersonal Representative Of The Estate Of Carol Janc Oulton. Attached to




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Oulton v. Iliadic,!, et at - Verified Complaint and Demand for July 71ial
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the lawsuit is the admission agreement signed by Carol Hladick on 2011-12-09 and also a Civil

Docket Sheet (Exhibit 133) . A screenshot of the Civil Docket Sheet follows:

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Chilton v. Illadick, et at — Verified Complaint and Demand for July Trial
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          420.      On August 5, 2013, (the same day Marlborough Hills billed C: Hladick for

payment in full on Donald's and Carol's allegedly outstanding balances), Attorney Masterson

filed a lawsuit on behalf of Colonial Health Group-Westridge LLC d/b/a Marlborough Hills

against the Estate of Carol Jane Oulton. The Complaint contains numerous fraudulent

misrepresentations of statements of material fact. Indeed, it contains lies. Attorney Masterson

and Michael Couture used the lawsuit to extract the entire amount of money allegedly owing to

Marlborough Hills from the assets of the Estate of Carol Jane Oulton so that C. Hladick — the

obligor who fraudulently entered into the contracts with Marlborough Hills— would not be held

liable for the contracts.

          421.      Specifically, Attorney Masterson states that Carol was admitted to Marlborough

Hills on or about November 29, 2011, which is in direct conflict with the admission date stated

on Invoice that Marlborough Hills sent to its alleged obligor, C. Hladick, on August 5, 2013. In

that Invoice Marlborough Hills claims that Carol's date of admission was January 6, 2012.

          422.      Carol was, in fact, admitted to Marlborough Hills on November 29, 2011, and

then removed from the facility late on November 30, 2011, after the Marlborough Hills staff

administered an overdose of Lorazepam to Carol.

          423.      Attorney Masterson makes the highly suspect claim that

            6. Carol Jane Oulton entered into an agreement with Marlborough

                  Hills on March J 5, 2012, in which she agreed to pay for nursing

                  home services .rendered to her: See a 'copy of the Admission

                 Agreement attached hereto and incorporated herein by reference

                 As Exhibit "A".


          424.      A signed Admissions Agreement appears below:

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 THE PARTIES HEREBY EXECUTE THIS RESIDENT ADMISSION AGREEMENT


                 •
Data                                  Representatve of Marlborough Hilts Healthcare Centor



  )
Date .



Date                                  Residones Legal Representave
                                      (If Applicable)


 source of Legal Authority:
 copy provided)


 ixecution solely for the purposes of payment using Rosident funds


   te                                 Resident's RetponsIble Party (If Applicable).



          425.       Carol lacked capacity by this time in her life and the signature on this document

appears to be a forgery. Marlborough Hills knew of these deficiencies and yet chose to execute

the contract, anyway, and then unlawfully held Carol in the facility until the end of her life.

          426.       Attorney Masterson fails to account for the period of time between November 29,

2011, and March 14, 2012, although Attorney Masterson states, in Paragraph 3 of the Facts, that

Carol was admitted to Marlborough Hills on November 29, 2011.

          427.       Quite noteworthy is the fact that that the Marlborough Hills Invoice sent , on

August 5, 2012, to C. Hladick for payment makes a demand for services rendered for Carol's

allegedly entire stay at Marlborough Hills ("January 6, 2012, through December 24, 2012")

minus the period of time during which Marlborough Hills staff overdosed Carol).

          428.       Given that on August 5, 2013, which was 11 days after Attorney Couture had

been appointed as Special Personal Representative, it is quite significant that Marlborough Hills


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sent its Invoice for all dates of service to C. Hladick, rather than to Attorney Couture: C.

Hladick fraudulently executed the Admissions Contract with Marlborough Hills in

December 2011.

          429. The signature on the Admissions Contract dated March 15, 2012,that Attorney

Masterson proffered, appears to be a forgery.

          430.      Another of Attorney's fraudulent misrepresentations is in the Marlborough Hills

Invoice sent to C. Hladick itself: the Invoice indicates that Carol was an in-patient at

Marlborough Hills on May 23, 2012, when, in fact, Plaintiff visited Carol for the last time at

Marlborough Hospital that day.

          431.      It is also quite noteworthy that Marlborough Hills was billing Medicare from

January 6, 2012, through May 31, 2012. Carol was in the Intensive Care Unit from at least May

22, 2012, and Plaintiff visited Carol at Marlborough I lospital on May 23, 2012.

          432.      Similarly, the claims that Attorney Masterson makes about the Admissions

Contract allegedly executed for Donald are equally perjurious. In the Complaint she wrote:

           16.0n or about December 29, 2011, Donald Oulton entered in to an

                 agreement with Marlborciugh HMS, through his Legal

                 Representative, Carol Hladick, in which he promised to pay for

                 nursing home services rendered to him. A copy of the Admission

                Agreement is attached hereto and incorporated herein by reference

                 as Exhibit "C".




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Oulton v. !Redick, et aL — Verified Complaint and Demand forJury Dial
        Case 1:17-cv-11343-WGY Document 1-5 Filed 07/20/17 Page 22 of 51




THE PARTIES HEREBY EXEGI:ITE THIS RESIDENT ADMISSION AGREEMENT .


1Qht-h-1
Date
                                         1110--ittstk_)
                                     RepreSentativC.of Marlborough !tills Healthcare Center




Date                                 Resident


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 ales                                Resident ilegal Representative
                                     (If Applicable);


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copy previded) •


areculinn solely for the purposes of payment using Resident funds


tato                                Resident's Responsible Party (If Applicable)




          433.     Attorney Masterson is lying in this Complaint. She refers to C. Hladick as

Donald's "Legal Representative" when, in fact, C. Hladick had no such authority.

          434.     On December 29, 2011, C. Hladick was merely Donald's Health Care Agent, not

his Attorney-In-Fact. The Admissions Agreement has a line where one should indicate the

"Source of Legal Authority" and provide a copy, and on Donald's Admission Agreement that

line is left blank. Marlborough Hills knew of these deficiencies and yet chose to execute the

contract, anyway, and then unlawfully held Donald in the facility until the end of his life.

          435.     C. Hladick did not provide a copy of the "Source of Legal Authority" because no

such legal authority existed. C. Hladick illegally contracted with Marlborough Hills so that the

Oultons would remain there, leaving the Oultons' assets vulnerable to the misappropriation and

conversion that forms the foundation of this lawsuit.




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          436.      The criminal enterprise at the heart of this lawsuit was put in place solely to

relieve C. Hladick from the obligation that she incurred with Marlborough Hills when C. Hladick

executed fraudulent contracts with Marlborough Hills. Given that Marlborough Hills willfully

and knowingly executed the Admissions Agreements with C. Hladick when Marlborough Hills

employees (Lincoln, Qucicros, et al.) knew that C. Hladick was merely a Health Care Agent, it is

likely that the Admissions Agreements that are the subject of this lawsuit arc voided by their

illegality.

          437.      Attorney Couture's Answer to Attorney Masterson's lawsuit is just as troubling as

Attorney Masterson's fraudulent misrepresentations of material fact in the Complaint arc.

          438.      Proof that Attorney Couture is a willing participant in the conspiracy at the heart

of this case is found in Attorney Couture's Answer to Attorney Masterson's lawsuit. His

willingness to admit to everything set forth by Attorney Masterson in the Complaint, including —

indeed, especially — the perjurious statements that Attorney Masterson makes to the court, is

proof that Attorney Couture's only job as in this matter has been to unjustly enrich Marlborough

Hills and spare C. Hladick from any additional invoices on the Admissions Agreements that C.

Hladick fraudulently executed in December 2011.




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                                         COMMONWE/


                 MIDDLESEX, ss.                                                     Superior Court .
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Oulton v. Hladick, et al. Verified Complaint and Demand for Jury Trial
         Case 1:17-cv-11343-WGY Document 1-5 Filed 07/20/17 Page 25 of 51




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          439. On October 16, 2013, to solidify their fraudulent transaction, Attorney Masterson

and Attorney Couture executed a Stipulation of Dismissal which dismissed Attorney Masterson's

lawsuit filed on behalf of Colonial Health Group-Westridge LLC (Marlborough Hills) with

prejudice (stipulated by Attorney Couture),

"ALL PARTIES WAIVING THEIR RIGHT OF APPEAL".


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Oulton v. Illadiek, et al. —"Verified Complain, and Demand for terry Trial
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            440. On August 22, 2013, an invoice was sent from Winston Law Group re:

Conservatorship. This invoice (Exhibit 134), in the amount of $2,712.50.




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Oulton v. Iflactick et al. — Verified Complaint and Demand for Jury Trial
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                     Review bond and forward to Atty. Masterson.                                              0.30              76.00

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oution v. Iliadic*, et al. — Verified Complaint and Demand for Jury Trial
       Case 1:17-cv-11343-WGY Document 1-5 Filed 07/20/17 Page 28 of 51




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         firrciiael R Conant,. Esq.                                                                                         Page; 2

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      Andrea 0' Brian                                                          020                   250.00                   70.00


                    TOTAL DUE THIS INVOICE                                                                                     2,71250


                    BALANCE NOW DUE                                                                                           $2.712.60




          441. On August 22, 2013, Michael Couture filed                                 a   motion (Exhibit 135) to allow

special personal representative fees and payment of creditors' claims in Middlesex County

Probate and Family Court. The motion requests payment of creditor claims for Colonial Health

Group-Westridge and for payment for services by iviirick, O'Connell, DeMallie, & Lougee, LLP

and states please see exhibits 2 and 3 respectively.

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           442.      NOTE — The document that Attorney Couture provided to Plaintiff was

MISSING ATTACHMENT:


           443.      NOTE - Attorney Couture sent this to Attorney Port, who is not a party to the

Estate of Carol,


          444.       On August 22, 2013, Michael Couture filed an answer to complaint (Exhibit 136)

in the matter of Colonial Health v. Couture. Attorney Couture admits to every.... in the

Complaint.


          445.       If Attorney Couture were truly acting in the best interests of the Estate of Carol,

he should have challenged the fraudulent contracts attached at the end and the perjurious

statements made by Attorney Masterson in the body of the Complaint.


          446.       In his 881 day long tenure, Attorney Couture has never acted in the best interests

of the Estate of Carol but, rather only in the best interests Marlborough Hills, C. Hladick, and

himself.


          447.      On August 28, 2013, Attorney Masterson sent a letter to the Middlesex County

Superior Court transmitting the lawsuit — Colonial Health Group-Westridge, LLC.v. Michael

Couture, Esq. Special Personal Representative of the Estate of Carol Jane Oulton, — Docket

No.: MICV2013-03501-J that Attorney Masterson filed against the Estate of Carol on behalf of

Marlborough Hills (Exhibit 136).


          448.      On August 29, 2013, Attorney Couture mailed a letter (Exhibit 137) to Plaintiff

informing her that a hearing for a motion of fees had been scheduled for September 12, 2013, in

Middlesex County Probate Court.

                                                                123
0«lton v. Hladick, et at. — Verified Complaint and Demand for Jut), Dial
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          449. On September 3, 2013, Attorney Masterson filed a Summons (Exhibit 138) with

the Middlesex County Superior Court in Woburn in the matter of Colonial Health Group-

Wcstridge, LLC v. Couture as Special Personal Representative of the Estate of Carol Jane

Oulton. NOTE that Attorney Couture voluntarily waives service of process by Masterson.



                                          PROOF OF SERVS Cli UV Pita ciss

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          450.       On September 11, 2013, Michael Couture issued a check (Exhibit 139) payable to

A.A. Dority Bond in the amount of $1260. The check was drawn from Century bank and is a

starter check with the Estate of Carol Jane Oulton handwritten in the top.

          451.       On September 12, 2013, a hearing was held before Judge DiGangi at the

Middlesex County Probate and Family Court (Exhibit 140). The parties at the hearing were

sworn and stated, inter alia, the following:

      MICHAEL COUTURE: Allright, I've filed motions to, uh, one, pay attorney's fees
      and my special representative fees and to also pay creditors' claims [UNTILLEGIBLE]
      Sarah Oulton went into the nursing home where her and her husband resided at and
      another to the law firm [UNTILLEGIBLE].... And the invoice for my fees are Two
      Thousand, Seven Hundred and Twelve Dollars and ($2,712) and I have an invoice with
      [UNTILLEGIBLE] time record records attached and Mirick O'Connell is One
      Thousand Nine Hundred Sixty Four Dollars and 63 Cents ($1,964.63). And
      Marlborough Hills, the nursing home, has a, uh, invoice for, uh, Sixty Nine Thousand,
      Four Hundred Twenty Six Dollars and 54 Cents ($69,426.54), and that's the
      [UNTILLEGIBLE I....

      JUDGE DIGANGI: And you represent the Estate of, uh....

      MICHAEL COUTURE: Sarah. Sony. Carol.

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      JUDGE DIGANGI: Right, and, uh, is there a representative of the fath... of the
      husband's estate?

      MICHAEL COUTURE: So, no, probate hasn't been filed on his behalf There was
      no probate so, actually, one of thegoals is to have, uh, to avoid a probate for the
      husband. Um, Doctrine of Necessities requires that a surviving spouse pays for medical
      necessities of the predeceding [sic] spouse 'so that is the, uh, statute or alignment to pay
      for the, uh, late husband's bills at the nursing home. [emphasis added]

      JUDGE DIGANGI: How much time? Who preceded.... the, uh, husband preceded the
      wife?

      MICHAEL COUTURE: Correct.

      JUDGE DIGANGI: By how much?

      MICHAEL COUTURE: I'm gonna say a couple of weeks?

      SARAH OULTON: .Five days.

      JUDGE DIGANGI: Five days? Okay. Uh, is that it, Counsel?

      JUDGE DIGANGI: What's the size of the estate?

      MICHAEL COUTURE: Uh.... We... Uh... The urn...received payment from the....
      Mirick O'Connell is holding the client's funds in escrow of One Hundred Eight Four
      'Thousand, Four Hundred Forty Nine Dollars and Ten Cents ($184,449.10). So there's
      plenty of money to pay these claims.

      SARAH OULTON: My concern, Your Honor, is simply that the medical records are
      necessary in this case. My mo.... When my mother was admitted to that nursing home
      she was admitted on November 30th of 2011, and was overdosed on her first day there,
      December 1st of 2011. So she was in a comatose state. I can't fathom, without seeing
      any documentation, how she could have executed all these legal documents in a
      comatose condition. She was rushed from Marlborough Hills to UMass Memorial on
      December 1st. I know that because I was with my dad in Natick, caring for him, and
      we were called by the nursing home staff at 11 o'clock at night, and they said, "Drive
      your dad to UMass. Your mom is unresponsive." From that point on the nursing home
      staff has been very adversarial to me, as I have outlined in my claim, not letting me
      visit.... They didn't let me visit them. They have filed a number of perjurious claims
      against my character, which is why I took time to give "the other side" to the court and
      have it in the record. My concern is that the nursing home's lawyer is Mirick
      O'Connell.

      JUDGE DIGANGI: Mmmm hmmm.




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      SARAH OULTON: I, I've looked at the, urn, the documents, Your Honor, that are
      some of the exhibits. For example, uh, when Jerome Sweeney, the attorney
      representing my siblings currently, when he filed, urn, [UNTILLEGIBLE] to, uh, put
      this into informal probate, he valued the estate at $250,000 with no real estate. My
      concern is that there was a home in which my parents dwelled in Natick. And I, as the
      interested daughter who had been caring for them for months — all through 2011, in fact,
      all through my law school days I would drive out and see them a couple of times a
      week. I did their errands and all that and, uh, nobody looked out for them. You know?
      Nobody, there was, uh, nobody to read, read the contract when they got to the nursing
      home and that type of the thing. So, when I knew she was comatose and my dad was in
      a state of dementia — diagnosed by his doctor— I simply filed a Petition for
      Conservatorship with this court and it was fought vigorously by Mirick O'Connell. My
      concern is that after I, uh, assented to a di, dismissal because I was told I'm still not
      allowed to visit anyone in the nursing home. May I remind you, Your Honor, you've
      been informed of heinous things about me, but I don't have any criminal record at all.
      I've never been in any trouble. They've manufactured a bunch of lies and I, I provided
      an Affidavit of Attorney Robert O'Regan, of Burns and Levinson, to counter some of
      that. The ultimate question I have is, "What happened to the house?" My concern is
      they...

      JUDGE DIGANGI: You've done a deed search?

      SARAH OULTON: I surely did, and those are the exhibits....

      JUDGE DIGANGI: What does that indicate?

      SARAH OULTON: It's here. It indicates, and I can read the numbers to you
      [shuffling papers]....

      JUDGE DIGANGI: Nah, I'm just asking you. What did the...when did the house get
      transferred FUNTILLEGIBLEr

      SARAH OULTON: The house was, uh, initially what they did, from the Alzheimer's
      Unit of, urn, Marlborough Hills....

      JUDGE DIGANGI: MA'AM I'M JUST ASKING YOU. WHAT DOES THE
      TITLE SAY? I'M NOT ASKING FOR A DIATRIBE ABOUT TIM
      BACKGROUND. WHAT DOES THE DEED SAY?

      SARAH OULTON: The deed says a woman named Cynthia Bracciale owns it now.

      JUDGE DIGANGI: DID SHE PAY A CONSIDERATION FOR IT?

      SARAH OULTON: She says she did. The dee... it, it, the....

      JUDGE DIGANGI: DOES THE DEED SAY IT DID?

      SARAH OULTON: Right.

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      JUDGE DIGANGI: HOW MUCH?

      SARAH OULTON: Urn, Three... Oh, Three Fifty One Five Hundred.

      JUDGE DIGANGI: WAS THE DEED NOTARIZED?

      SARAH OULTON: By Mirick O'Connell's own attorneys.

      JUDGE DIGANGI: IT WAS NOTARIZED.

      SARAH OULTON: It was.

      JUDGE DIGANGI: Allright.

      SARAH OULTON: But my concern, Your Honor, is that it was, it was sold under a
      Power of Attorney that was executed from the Alzheimer's Unit. And, as you know,
      under the Uniform Probate Code, the first pri... the first criterion is that the person
      executing the POA be competent person, and my father was not. He had been residing
      in the Alzheimer's Unit for nine months when the Mirick lawyers showed up and said,
      "Sign this document," and there was no witness.

      JUDGE DIGANGI: Well, that's beyond the pale here. You, you don't take that here.
      If you have a complaint about the, uh, there being a, uh, some sort of a, uh,
      misrepresentation or whatever, that's....

      SARAH OUIMON: I do.

      JUDGE DIGANGI:.... that's Superior Court.

      SARAH OULTON: I understand that. My concern is simply, why pay them at this
      point? I have asked for an Accounting, Your Honor. You may recall, we've met
      before. Exhibit 38 shows the home in which my parents resided stripped in la.... in, uh,
      August of last year, and I'm a one-quarter beneficiary. I'm a devisee, equal to the
      others, who's not seen a thing because of the looting.

      JUDGE DIGANGI: Anybody else objecting today?

      MICHAEL COUTURE: No, and there's three other children, siblings, or children to
      the decedent. One of them....

      JUDGE DIGANGI: Do you want to respond to any of this?

      MICHAEL COUTURE: Urn. Let's see. Well, the... There was a Power of Attorney
      and Health Care Proxy appointed for the father, Donald Oulton. The mother, I don't
      think, was ever deemed incompetent. And they were caring for her father and her
      mother and the fact of the matter is that they were both residing at this nursing home
      for, for, probably over a year and they approved the bills and the only way to pay the
      bills was to sell the home. And, I don't think she's disputing the existence of the debt.

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      I think she's, this, there's a lot of disputes in here, such as how the house was sold, and
      that's really irrelevant here. It's uh, the debt exists, and there are assets in the estate to
      pay the debt.

      JUDGE DIGANGI: IF YOU FEEL SOMEBODY'S STOLEN SOMETHING,
      REPORT IT TO THE POLICE. HIS JOB, RIGHT NOW, IS TO GET MY
      PERMISSION. IF I FEEL, IF I FEEL THAT IT'S, UH, WARRANTED, TO PAY
      CERTAIN CREDITORS OF THE ESTATE. NOT ONLY YOUR MOTHER'S
      ESTATE BUT YOUR FATHER'S ESTATE. THEY PROVIDED SERVICES.
      NOW, IF YOU DIDN'T WANT THEM TO GO TO A NURSING 110ME,
      WHERE WERE THEY SUPPOSED TO GO?

      SARAH OULTON: Well, I tried to have them live with me, I mean, I fought....

      JUDGE DIGANGI: BUT THAT DIDN'T HAPPEN, DID IT?

      SARAH OULTON: No, it did not.

      JUDGE DIGANGI: SO I HAVE TO RESPOND TO WHAT DID HAPPEN, NOT
      WHAT COULDA, SHOULDA, OR WOULDA HAPPENED, RIGHT? I'll read your,
      uh, I'll read your, uh, Opposition, and I'll see where it goes. I'll take this under
      advisement.

          452.       On September 12, 2013, Plaintiff filed (Exhibit 141) Petitioner Sarah A. Oulton's

Opposition to Motion to Allow Special Personal Representative Fees and Payment of Creditors'

Claims.

          453.       On September 12, 2013, the Middlesex County Probate court allowed Couture's

Motion to Allow Special Personal Representative Fees and Payment of Creditor's Claim

(Exhibit 142).

          454.      On September 30, 2013, a Statement of Account (Exhibit 1.43) yielding a balance

of $158.70 was mailed from Brookline Credit Union to Carol Oulton.

          455.      On October 5, 2013, Plaintiff filed Motion to Disqualify the Law Firm of Keough

+ Sweeney, Ltd., Plourde Boguc Moylan & Marino, LLP, and Dennis R. Brown, P.C. from this

case (Exhibit 144).




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          456.       On October 15, 2013„ Attorney Masterson transmitted the lawsuit: Colonial

Health Group-Westridge,•LLC v. Michael Couture, Esq. Special Personal Representative of the

Estate of Carol Jane Oulton — Docket No.: MICV2013-035014 (Exhibit 145)

          457.       When Attorney Couture provided a copy of this lawsuit to Attorney Bartley

Attorney Couture withheld both the Stipulation of Dismissal (dismissing the suit with prejudice,

forfeiting all rights of appeal) and the Summons (with waiver of service of process).

          458.       On October 16, 2013, Dennis R. Brown, P.C. replied to Petitioner Sarah Oulton's

Motion to Disqualify the Law Firms of Keough + Sweeney, Ltd., Plourde Bogue Moylan &

Marino, LLP and Dennis R. Brown, P.C. (Exhibit 146)

          459.       On October 16, 2013, Attorney Curley filed an Opposition of Plourde Bogue

Moylan & Marino, LLP (Exhibit 147) to Petitioner Sarah A. Oulton's Motion to Disqualify the

Law Firms of Keough + Sweeney, Ltd., Plourde Bogue Moylan & Marino, LLP, and Dennis R.

Brown, P.C.

          460.      On October 17, 2013, a hearing was held before Judge DiGangi at the Middlesex

County Probate Court (Exhibit 148).

      SARAH OULTON: I filed a Motion to Disqualify three of the law firms that have been
      involved in this case based on the fact that I've been represented by two of them in the
      past and I'm a former client, and under Rule 1.9 they have duties to me, as their former
      client.

      JUDGE DIGANGI: Who, who represented you in the past?

      SARAH OULTON: Jerome Sweeney did. Attorney Jerome Sweeney did, and
      Attorney Dennis Brown, and Attorney Lisa Vecchio have represented me in the past,
      and their involvement in this current matter is complicated. You heard, in fact, on July
      25th, Your Honor, you disqualified Mr. Sweeney from being the Personal
      Representative of my mother's estate. And by disqualified I mean you denied him that
      opportunity, and in your comments to him — I'll paraphrase but you even stated, "[w]e
      must avoid the, even the appearance of impropriety." And given the prior relationship
      he had with me as a client...



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      SARA1I OULTON: I'll quote, if I may, I'll quote you, Your Honor. May I quote you
      for the record, please?

      JUDGE DIGANGI: I always like to hear what I said. Go ahead.

      SARAH OULTON: Okay. You said, "In reality, I can understand where somebody
      might say there might he a conflict of interest in this case. I just want to avoid the
      image of impropriety. I think, to keep this clean, I think we need to get somebody else."

      JUDGE DIGANGI: It sounded brilliant to me, I don't know about you guys. What do
      you want to say?

      MELISSA CURLEY: Your Honor, I represent, uh, Mr. Sweeney, and I'm from the
      firm Plourde Bogue Moylan and Marino. That's one of the firms which Petitioner seeks
      to disqualify. Our firm represents Mr. Sweeney in his Petition, uh, for appointment as
      Personal Representative. Our firm has no prior history with the Oulton family, our firm
      has never represented Ms. Oulton, and there is no direct conflict under Rule 1.7. Uh,
      secondly our firm has no association with Keough and Sweeney. We have no
      affiliations with that firm so there's no disqualification of our fu-m under Rule 1.10.
      Urn, if I might continue by way of background. Uh, our firm filed a Petition for
      informal, um, administration of the estate. Urn, Ms. Oulton objected to that petition and
      subsequent to that, Ms. Oulton filed a petition for formal administration. Uh, our firm,
      on behalf of Mr. Sweeney, filed an objection to that and, as Ms. Oulton has stated, the
      court appointed a temporary Personal Representative, uh, that was responsive to a
      creditor issue. Urn, Michael Couture was appointed and, uh, the creditor issue since
      that time has been resolved. Uh, I believe this motion has been filed in advance of the
      status review which is scheduled for the 31st of this month? At that time, the court will
      consider... will consider the continued appointment of Mr. Couture whom, upon
      information and belief, does not wish to continue as the Personal Representative. Uh,
      he's filed motions for fees. Ms. Oulton has filed an objection to his motion for fees and
      perhaps that has something to do with it. Needless to say, I believe this motion was
      filed as a baseless attempt to discredit our firm and to further be smudge Mr, Sweeney
      in advance of the status review and perhaps the court's consideration, at that time, of his
      appointment as the Personal Representative.

      JUDGE DIGANGI: What's the conflict that you state that this firm has?

      SARAH OULTON: The conflict, Your Honor, is that through their representation of
      my former attorney they have gained information about me that they otherwise would
      not have had.

      JUDGE DIGANGI: Well, I'll make this easy for you folks. Why don't you call the
      BBO and find out if they feel that...

      SARAH OULTON: I have called the BBO, Your Honor.

      JEROME SWEENEY: Your Honor, I've looked through my records and nowhere that
      I have been able to find any representation for Sarah Oulton. The sole... in... I, I've
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      known her for many years, as I have known the family for more than 40 years. I was
      intimate friends with them. Uh, Sarah came to my office sometime, I believe, in 2005,
      called me and was in dire financial problems, asked me for some advice on her student
      loan application. I assisted her in that respect. I didn't consider it a legal
      representation. I never billed her. I never collected from her. I never asked for any
      money from her. I believe she asked if I would, uh, act as a, urn, a represent... a, urn,
      oh... sponsor her, at least, uh, gi... use my name. Regrettably, I think I must have
      because I've been inundated with Dunning notices ever since, which I haven't
      responded to, but that was my involvement with Sarah, but in no way did I ever appear
      for her, did I ever...

      JUDGE DIGANGI: And you're being represented?

      JEROME SWEENEY: Yes, Your Honor.

      MELISSA CURLEY: Correct, Your Honor.

      JEROME SWEENEY: But not as an attorney.

      JUDGE DIGANGI: AIfright. As I said, call the BBO. If they feel that there's a
      conflict let the court know. Let the moving party know.

      MELISSA CURLEY: Okay. JUDGE DIGANGI: If they don't feel that there's a
      conflict, you might want to get a letter from them indicating that. As soon as you get
      that letter, let me know and I'll, I'll act, either way on the, uh, request.

          461.      On October 17, 2013, Attorney Sweeney-2 mailed Plaintiff the Opposition of

Jerome V. Sweeney H to Petitioner's Motion to Disqualify the Law Firms of Keough + Sweeney,

Ltd., Plourde Bogue Moylan & Marino, LLP, and Dennis R. Brown, P.C.J. (Exhibit 149)

          462.      Attorney Sweeney-2 deceptively sent this Opposition in an envelope that had a

return address of "Law Offices ofJerome V. Sweeney," to likely distance himself from the law

firm of Keough -I- Sweeney, Ltd. The business address, however, was the same address used by

Keough + Sweeney, Ltd. (171 Milk Street, Suite 30, Boston, MA 02109) and as of October 17,

2013, there was no record of a business entity called "Law Offices of Jerome V. Sweeney" in

The Commonwealth of Massachusetts. Moreover, the Board of Bar Overseers had no such

listing in its records.



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          463. On October 31, 2013, a hearing was held before Judge DiGangi at the Middlesex

County Probate and Family Court (Exhibit 150). During the hearing the following statements

were made by the noted parties: All parties were sworn and stated the following:

      JUDGE DIGANGI: What's before me today, please?

      DEBORAH MASTERSON: Your Honor, you put the SPR on for a review this
      morning. It's been 90 days. I represent the creditor whose claims have been satisfied in
      full, so I have filed a Motion to Dismiss the SPR.

      JUDGE DIGANGI: Okay.

      DEBORAH MASTERSON: But my understanding is that there's also a Motion to
      Intervene, to substitute the Petitioner which I would not oppose. Pm just seeking to
      extract Marlborough Hills from this.

      JUDGE DIGANGI: Anybody have any objection to that Motion?

      MOST: No, Your Honor.

      SARAH OULTON: Your Honor'?

      JUDGE DIGANGI: Yes.

      SARAH OULTON: 1, I'm wanting to put on the record I'm waiving the notice
      requirements for this Motion. I wasn't served notice of it — ten days by mail or seven
      days by hand prior to this date — but I'm happy that the Motion get heard today to speed
      things along. I object, however, to the dismissal of Special Personal Representative
      Couture for the simple fact that he has not fulfilled his duties as Personal
      Representative in this case. Specifically, under 190B, Section 3-703, he had a duty of
      loyalty and impartiality to all parties involved in the Estate. I've not heard one thing
      from him. I've not seen an Accounting. I'm a Devisee. I'm not some, you know,
      disinterested party. And when, in fact, he was appointed as SPR on July 25th, urn, both
      he and Ms. Masterson testified under oath that they would be disinterested — that he
      was a disinterested third party. As you know, he submitted a bill last month, um, for
      11.3 hours, all of which was spent with the three other Devisees and Mr. Sweeney,
      whom you disqualified as, as, as Personal Rep in the matter before you on July 25th. So
      for those reasons, I, I am objecting to his dismissal at this time until he provides an
      Accounting and, perhaps, I inherit something that was in my morn's Will.

      JUDGE DIGANGI: Is there an Accounting some place?

      MICHAEL COUTURE: Well, my Accounting's not due yet, but I will file it.

     JUDGE DIGANGI: And you'll provide....

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      MICHAEL COUTURE: Absolutely.

      JUDGE DIGANGI: ... everybody with a copy, is that correct?

      MICHAEL COUTURE: Absolutely. Yes, so....

      JUDGE DIGANGI: Anybody else want to be heard?

      DEBORAH MASTERSON: [To Melissa Curley (unintelligible)... the intervention.]

      MELISSA CURLEY: Your Honor, we filed a Motion to Intervene, uh, subject to the
      present Special, uh, Personal Representative's resignation, so I don't know if that's
      properly before the court....

      JUDGE DIGANGI: How are you folks? What are you intervening? Who are you
      intervening for?

      MELISSA CURLEY: Uh, my understanding is that the present SPR intends to resign.
      I'm not sure that's before the court now at this time, subject to his Accounting, so
      perhaps the Motion to Intervene is premature now.

      JUDGE DIGANGI: Well who, who arc you planning on intervening for?

      MELISSA CURLEY: Intervene and have, uh, Jerome Sweeney the Second
      appointed as successor SPR. There are other known creditors of the Estate. There are
      assets that have been identified that need to be marshaled, um, and the creditors need to
      be paid. Mr. Sweeney is nominated under the Will, as been stated, uh, the alternate
      nominee was Jerome Sweeney the Third, none of the heirs at law, uh, are nominated
      under the Will of the Decedent, uh, there's not been a conflict established as of the date
      hereof, and there's been no showing that he is unsuitable for the appointment.

      SARAH OULTON: Pardon, Your Honor, we still have before us the matter of the
      Motion that I filed and you heard on October 17th with respect to the disqualification of
      Jerome V. Sweeney....

      JUDGE DIGANGI: Ah, we'll get into that....

      SARAH OULTON: Okay.

      JUDGE DIGANGI: ... in a minute

      SARAH OULTON: Okay.

      JUDGE DIGANGI: but I'm going to allow your Motion.

      DEBORAH MASTERSON: My Motion to Dismiss?

      JUDGE DIGANGI: Yes.

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      DEBORAH MASTERSON: Thank you. So he doesn't have to resign, right?
      Because....

      JUDGE DIGANGI: No, he doesn't have to resign. He still has to give an Accounting.

      MICHAEL COUTURE: Absolutely.

      JUDGE DIGANGI: I mean, subject to that Accounting. So...

      DEBORAH MASTERSON: Sure.

      JUDGE DIGANGI: But I'm allowing the Motion to....

      DEBORAH MASTERSON: Thank you.

      JUDGE DIGANGI: Beside the Motion to Intervene? Do we need to hear that right
      now or are we gonna wait? Who's gonna....

      DEBORAH MASTERSON: Well, I think, procedurally, if I... if the SPR has been
      dismissed there's nothing to intervene into because that's gone. I, I'm a bit confused,
      so....

      JUDGE DIGANGI: Well, we didn't want to grant the Motion, right? We grant the
      Motion....

      DEBORAH MASTERSON: Are you granting my Motion to Dismiss?

      JUDGE DIGANGI: Yup.

      DEBORAH MASTERSON: And you've allowed that? So there's nothing alive to
      have her intervene into. I think she'd have... or you could....

      JUDGE DIGANGI: Well, let me ask you this....

      DEBORAH MASTERSON: ....withdraw my Motion if you're inclined to have

      JUDGE DIGANGI: Are the creditors, are these other creditors, have they been timely,
      uh, noticed? What other creditors are there?

      CAROL HLADICK: Pharmaceuticals and, urn, various, urn, doctors.

      JUDGE DIGANGI: How much are those?

      CAROL HLADICK: Um, the pharmaceuticals...

      JUDGE DIGANGI: ... things?

      CAROL HLADICK:... run about thirty four hundred and then the doctors are, various
      doctors are co-payments.

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      JUDGE DIGANGI: How much, uh, how much is in this Estate?

      CAROL HLADICK: All

      NANCY WILLIAMS: • [unintelligible, whispering to Carol Hladick and Michael
      Couture, all of whom are responding to Nancy Williams]

      JUDGE DIGANGI: How much is in the Estate?

      MICHAEL COUTURE: Around a hundred thousand.

      JUDGE DIGANGI: What are you, what are you looking to get out of this?

    . SARAH OULTON: Me?

      JUDGE DIGANGI: Yeah, you.

     •SARAH OULTON: I simply wanted a disinterested third party. I filed that Motion in
      April, Your Honor. Because....

      JUDGE DIGANGI: For what purpose?

      SARAH OULTON: Because they had unlawfully excluded me from my folks' lives
      through lies and...

      JUDGE DIGANGI: Well...

  • SARAH OULTON: ... and, and that type of thing....

      JUDGE DIGANGI: What are you hoping to get out of the residuary of this Estate?

      SARAH OULTON: An, an honest Accounting, sir, of where the money went. As I
      have mentioned in, in a prior pleading they had my folks execute Powers of Attorney
      from the Alzheimer's Unit of the nursing home, which is....

      JUDGE DIGANGI: Why do you feel, do you feel that you're entitled to more than a
      fourth of this Est, Estate?

      SARAH OULTON: No, but as, as I...

      JUDGE DIGANGI: So what's the problem here? WHY CAN'T YOU JUST GET
      THIS CASE DONE AND GET IT OVER WITH?

      SARAH OULTON: I'd love to.

      JUDGE DIGANGI: All these people want to divide

      SARAH OULTON: I would love to with a disinterested....


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     JUDGE DIGANGI: Sir. Ma'am.

      SARAH OULTON: Okay.

     JUDGE DIGANGI: What's the problem with this gentleman continuing to serve and
     pay everybody off? Is there a problem with that?

      MICHAEL COUTURE: No, and I...

     JUDGE DIGANGI: I have no problems with your service, sir, so if you, as the SPR, if
     you want to get all the, uh, all the debts in this case, put 'em under one roof, get 'ern
     paid off, give everybody and Accounting, and we'll divide everything by four after that,
     and GET IT DONE.

     DEBORAH MASTERSON: [Muttered to Sarah Oulton, "Why can't you just accept
     a check and move on?" and Sarah Oulton responded, "Any check Mr. Couture cuts
     must comport with a thorough and accurate Accounting, which was due in September,
     by the way."]

      MICHAEL COUTURE: That's o.... that's.... that's more...

     SARAH OULTON: I'm happy with that, Your Honor. Thank you, Your Honor.

     DEBORAH MASTERSON: So we'll substitute the Petitioner.

      JUDGE DIGANGI: Yeah. Allright?

      ALL: Thank you.

     DEBORAH MASTERSON: [unintelligible] Jerome, and then Mike will be
     [unintelligible]. Is that Allright?

     JUDGE DIGANGI: LET'S JUST GET THIS DONE!!!

     SARAH OULTON: Right.

     DEBORAH IVIASTEILSON: So the Petitioner... so I can withdraw my Motion to...

     JUDGE DIGANGI: You can withdraw your Motion.                      I'll disallow it.

     DEBORAH MASTERSON: Okay, there ya go. Or I can withdraw it and then
     Jerome can be, can intervene to nominate Mike. Assuming you're willing to do it.

     JEROME SWEENEY: Sure! Yes!

     DEBORAH MASTERSON: And you willing to do it for another ninety days?

     JEROME SWEENEY: Yes!


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      JUDGE DIGANGI: PLEASE, LET'S JUST GET THIS DONE!

      JEROME SWEENEY: Yes!

      JUDGE DIGANGI: Allright?

      NANCY WILLIAMS: Thank you, Your Honor.

      JUDGE DIGANGI: GIVE ME THE PAPERWORK AND LET'S GET IT DONE.

      JEROME SWEENEY: LET'S GET IT DONE!

      NANCY WILLIAMS: Thank you very much.

      JUDGE DIGANGI: I DON'T KNOW WHY THIS WASN'T DONE A LONG
      TIME AGO, LIKE, TEN POUNDS OF PAPER AGO.

      DAVID OULTON: YES, SIR!

      JUDGE DIGANGI: AIfright.

      JEROME SWEENEY: Thank you.

      JUDGE DIGANGI: Give me the paperwork. That'll be allowed. Allright? Ninety
      days continuance.

      NANCY WILLIAMS: Thank you, Your HonOr.

      JUDGE DIGANGI: How much time do you think you're gonna be able, uh, need to
      close this out?

      MICHAEL COUTURE: I would say 60 days.

      JUDGE DIGANGI: I'll give ya 90 days, just to make sure this [unintelligible], .
      allright?

      MICHAEL COUTURE: AIfright

      JUDGE DIGANGI: Continued for 90 days. Allright. January 30th.

      DEBORAH MASTERSON: [Muttering unintelligibly to others)

      ALL: Thank you, Your Honor.

          464. On October 31, 2013, Attorney Curley filed a Motion of Jerome V. Sweeney II to

Intervene as Substitute Petitioner for Colonial Health Group-Westridge, LLC d/b/a Marlborough

Hills Healthcare (Exhibit 151).

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          465.       Attorney Curley perjured herself stating, "All interested persons were present

having no objection to this motion." Plaintiff objected to this third attempt by Attorney

Sweeney-2 to regain control of the Estate of Carol Jane Oulton.

          466.       On. October 31, 2013, Attorney Curley also filed a Motion to Intervene in Petition

for Appointment of Special Personal Representative Colonial Health Group-Westridge, LLC

d/b/a Marlborough Hills Healthcare (Exhibit 152). In an incredible (and unethical) fourth

attempt to get Attorney Sweeney-2 appointed as Personal Representative of the Estate of Carol,

Attorney Curley, who is not counsel for Colonial Health Group-Westridge LLC, files this motion

as though she is, in fact, representing Colonial. Attorney Curley wrote,

                    Now comes Jerome Sweeney the Petitioner (NOTE — title says
                    Colonial is petitioner) in this action who moves this honorable
                    court as follows: — (Curley's handwritten statement follows) —
                    The creditor of the Estate of Carol Jane Oulton, Colonial Health
                    Group Westbridgc (WRONG) LLC filed a petition for the
                    appointment of Special Personal Representative on June 10, 2013.
                    The court granted Colonial's petition and appointed Michael
                    Couture as Special Personal Representative to preserve estate
                    assets and to remit payment to said creditor, Colonial. As of the
                    date hereof Colonial has been paid. The court appointed Special
                    Personal Representative wishes to resign and Jerome Sweeney II
                    wishes to intervene for purposes of being named the Special
                    Personal Representative to address the remaining creditors of the
                    Estate pending his appointment as Personal Representative per
                    section 3-203(c) (1).

          467.      On November 18, 2013, the firm of Plourde Boguc Moylan & Marino, LLP

prepared an invoice (Exhibit 153) to Jerome V. Sweeney, one of several executors de son tort

intermeddling in the Oultons' estates. This invoiced billed for the following items:




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                                            PLOURDE, BOGUE, MOYLA.N & MARINO, 1.12
                                                  50 Facial:1v Tarace, Sae 820
                                                      Providence, RI 02903
                                                       'I'd (401) 458-0550
                                                       Fax (401) 421-7806




        Invoice cubrnted to:                                                                        November 18, 2013
        Jerome V Sweeney, II, Esq.
                                                                                                    Inv0;or # 130908
        171 Milk Street, Ste: 30
        Boston. MA 02109                                                                            Page          1




                 Professional Services

                                                                                                                arlirs   Amwm

      3T7/2013 SR Conference Vat Tom Moylan; set up new file for cent; draft transmittal letter to               0.90     90.00
                    probate court to commence proceedings.

      3/7/2013 TJM Attentkxt to file, review financial information and estate planning documents                 2.90    870.00
                      forwarded by decedent's daughter, phone conference with Nancy Williams,
                      prepare documents needed to open probate,

      3/12/2013 SR     Scan in all tax Info and financial Info provided by client; prepare ratters to heirs,     1.60    160.00
                       Medical Division, and Veterans Affairs to transmit notice of petition and send all via
                       certified mail return receipt requested with copies to Jerome V. Sweeney,

     3/12/2013 TJM Reviewemail sent from Nancy Villhama to Jerry Sweeney containing question                     0.50    150.00
                    regarding rotate             • e for Carol Dutton; respond to client's email and
                    address ail ques ons.
                                                                             •
     3/2212013 SR Update Cover letter, prepare pocket of probate doOs to be sent via fedex to                    0.60     69.61
                    Probate Court for filing; search for year purchased borne end amount purchased
                    for income Tax Return.
     5/312013 SR Telephone call with Kathleen at the Probate Court reganilng issues with Estate;                 0.25    25.00

     6/10/2013 TJM Attention to tile, conference with Jerome Slveeney to dismiss motion fried by Sarah           1.40    490.00
                     Dutton, review motion

     5/1012013 JVS Travel to probate court to review fde and discuss Issues with clerk.                          2.00    300.00

     5/14/2013 TJM Prepare Noticecf_&?wranckand Objection.taltdon; Phone conference with                         1.90    05.00
                   Nancy-, Conference with pan3tagai.

     62.1442(Z2 SR Review police detail invoices sent from Jason.Port,' scan and rile.                           0.20     20.00
               .




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         Jerome V S\freepay,11, Esq.                                                                                          Page       2


                                                                                                                     Hours      Amount

       7/2/2013 TJM Review petition to admit Win filed by Sarah Outten, review Creditors motion,                      6,20     2170.00
                    research MA UPC, research law considering suitability of personal representative,
                    review prior evidence concerning unsuitability of Petitioner, conference with
                    Petitioners sibrings, prepare and fie affidavit of obJedfons.

      7/3/2013 SR        Attention to forwarding copy of Affidavit and exhibits sent to probate Court for rang       . 0.80          80.00
                         to heirs at law via cestified mail return receipt requested.

      7/2212013 TJM Draft opposition to creditor motion for appointment of special personal                           1.40      490.00
                    representative. Conference with Jerome Sweeney regarding same.

      7123/2013 SR       Draft letter to probate court to transmit opposition to motion for filing via Fed Ex;        0.60       80.00
                         draft letter to Attorney Masterson to transmit copy cf Opposition being filed with
                         probate Court and fax a copy of the same.

      7/24/2013 TJM Review motion for extension of time flied by Sarah Oulton, conference with                        1.30      455.00
                    Jerome Sweeney, prepare for motion hearing.
      7/25/2013 JVS      Attend Motion for Appointment of Special Personal Representative.                            0.00       900.60

      V25/2013 TJM Attention to file, phone conference with Jerry Sweeney regarding hearing.                          0.40       140.00
                                                                                          •
      T23/2013 TJM Phone conference with Michael Couture, Special Personal Representative,                            0.30 NO CHARGE
                   regarding Sarah's objection to his motion for fees.

      10/16/2013 MLO Review Motion and Opposition to Disqualification; review docket and Rules of Civil               1.37      321.17
                     Procedure on Service of Opposition (timing); telephone can with 'Thomas Moylan,
                     Esq. regarding background, etc.

      10/18/2013 MLC Review letter to B80 print and fax to BBC) and advise that ft's needed fn Cowt at                0.20 NO CHARGE
                     time of status review on 10/31.

      10/17/2013 MLC Preparation for hearing -notes; Attend hearing on Motion to Disqualify                           2.80      658.00
                     P8MM/Jerome Sweeney, II Esq.; meet with Thomas Moyan, Esq. and Jerry
                     Sweeney, Esq. regarding same; go to Mass 880 per Court Order and request
                     Information on getfrg no oarrfPc.t/disqual ilication letter, advise Thomas Moyion,
                     Esq. of contact Bruce Elsenhut and fax for sanding letter.

     10/17/2013 MLC Tnavel time to and from (testy° for hearing:                                                      2.00 NO CHARGE

     10/3012013 TIM Additional research Issues involving suitability of personal representative.                      2.00       700.00

     10/31/2013 MLC Court Appearance - Status Review- Motion to Intervene/Substitute                                  2.50       687.50
                    Pelltioner/Moiran to Intervene as Successor SPR (this was continued to 1/30113)

     1010/2013 MLC Review Rite and new Probate Court Formsllegol Research from Thomas Moylan,                         1.25       293.75
                   Esq.; Telephone call with Michael Couture, Esq. regarding procedural steps and
                   what to file; discussions with Thomas Moylan, Esq.

     i117/2013          Telephone can with Nancy Williams regarding preparing packet to be sent to                    0.17        18.67
                       .executor.

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                   Jerome V Neeney, II, Esq.                                                                                    Page


                                                                                                                        pour/      mount
                 10110/2013 TJM Per Order of Judge, draft fetter to 060 requesting ruling on whether Plourde,            1.10       385.00
                                Rogue, Moyf an & ?Aerate, ILP was tfisqual,fred from representing Jerry Sweeney.

                            For KofesSionaf servi%ni rendered                                                           42.84   310,033.70
                            Additional Charges

                 302/2013 Certified mall to heirs, Veterans, and Medical tv.....
                                                                             -^isiance to give Notice of Petition                    36.60
                 3/2212013 Mlddtes ex County Probate Court -open probate                                                           405.00
                            FedEx-probste does to court for gag                                                                      14.043

                 3/26/2013 Iftdfesex County ProbMo Court- Certificate of Appointment                                                 10.00

                 4/19/2.013 Notice of Petition for Informal Appointment to hers. Division of Medical Assistance and Veterans         36.68
                           Affah.,

                  7/3/2.013 certified ma4- notice of Affidavit of Obloction                                                          32.613

                  7/8/2013 FedEx to Middlesex PrObalt & Family Court                                                                 15.40

                 7/23/2013 FedEx-Opposition to Motion to Protrats Court                                                              15.40

                 9r24/2013 Middlesex Probate & Faniiy Court - copy of Probate file                                                   15.00

                10/17/2013 Parking Expense and travel expense (tralloab).                                                           40.50

               10/31/2013 Parking Dcpensarain TO:ef/Ceb from South Station                                                           45.50

                           Tofal additional charges                                                                               sze6.e6

                           Total amount of Us bit                                                                               510,763.56


                           f3elance due                                                                                         510,753.56




          468. Here, PBMM is billing the Estate of Carol $10,753.56 for its representation of

Sweeney -2 in his desperate attempts to be appointed as Personal Representative of the Estate of

Carol so that he can continue to hide the misappropriation of funds, etc.




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          469.       In the entry dated May 10, 2013, PBMM is attempting to bill $300 to pay

 Attorney Sweeney-2, PBMM's purported client for time spent traveling to Probate Court to

 speak with the clerk.

          470.      This invoice, furthermore, also contains reference to the Natick Police Details that

 the Sibling Defendants and others hired for the Oultons' wakes, funerals, and burials.

          471.       On December 18, 2013, Hansom Federal Credit Union sent a letter to Michael

 Couture (Exhibit 154) transmitting checks payable to the estate of Carol Oulton in the amount of

 $2036.52 regarding account 262631 and $1015.52 regarding account 262630.

          472.       On December 20, 2013, a Transaction Receipt (Exhibit 155) stating that the

 Oultons' Middlesex Bank Accounts arc closed was sent to Carol Illadick at her residence. The

•receipt refers to two bank accounts. The first account ending in 8081 was closed on December

 20, 2013, with an amount withdrawn of $38,245.13. The second account ending in 0156 was

 also closed on December 20, 2013, with a withdrawn amount of $155.03.

          473.       On December 24, 2013, Attorney Couture mailed a letter (Exhibit 156) to

 Plaintiff transmitting Claim for Death Benefits for the Federal Employees Group Life Insurance

 (FEGLI) through MetLife. Included in this packet

          Death Certificate of Carol Jane Oulton

          Appointment papers naming Attorney Couture as Special Personal Representative

          Copies of letters received by Agency.

          474.       On December 26, 2013, Couture sent an email (Exhibit 157) to David Bartley

 Subject: Follow Up to 12-10-2013

                    "My goal was to prepare everything in one package. Attached arc
                    as follows:

                     1. Invoices for Services to PBMM on behalf of Attorney Jerome

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                     Sweeney

                     2. Other various outstanding balances

                    3. Mirick O'Connell Accounting of Oulton IOLTA

                    4. Mirick O'Connell Explanation of Closing Proceeds HUD and
                    Deed

                     5. Estate of Carol Oulton Balance Sheet - Standard

                    6. Estate of Carol Oulton Balance Sheet — Detailed

                    7. Invoice and Proof of Payment

                    The Balance Sheet detail has all transactions however it is
                    somewhat confusing because it totals the transfer between the
                    Checking and Savings accounts. The bills paid to date include the
                    tees approved by the court (Mirick O'Connell, Marlborough Hills,
                    and my fees as PR). The only other bill paid is the Corporate
                    Bond. I intend to pay the monument and excavation invoice to
                    Acker man this week. All other invoices require court approval. I
                    am expecting in the process of surrendering Donald Oulton's Life
                    Insurance estimated payment of $139,250 and Carol Oulton's Met
                    Life shares, value unknown."

                    I will update you with any additional transactions. I am expecting
                    in the process of surrendering Donald Oulton's life insurance
                    (estimated payment of $139, 250.00) and Carol Oulton's MetLife
                    Shares (value unknown)

          475.      On January 9, 2014, a check (Exhibit 158) in the amount of $1,560.37 was issued

from MetLife payable to Michael Couture in his capacity as person representative for the Estate

of Carol Oulton.

          476.      On January 10,2014 Attorney Couture issued a check (Exhibit 159) in the amount

of $1806.25 payable to Ackerman Monument. The Check is drawn from Century Bank on the

account of the estate of Carol Jane Oulton. Included with Exhibit 159 is Ackerman's invoice

          477.      On January 10, 2014, Couture issued a check (Exhibit 160) in the amount of

$450.00 to Allen Bush Jr.

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         478.      On January 13, 2014, Michael Couture, in his capacity as special personal

representative of the estate of Carol Oulton, received a payment (Exhibit 161) in the amount

5139,986.38 from The Office of Federal Employees Group Life Insurance. The benefits were in

the name of Donald Oulton.

         479.      On January 20, 2014, after discovering that documents were missing from the

case file for In Re The Estate of Carol Jane Oulton, Plaintiff, through counsel, prepared a motion

(Exhibit 162) for an order to restore case file in its entirety along with a supporting affidavit.

         480.      On January 20, 2014, Plaintiff, through counsel, prepared a motion (Exhibit 163)

to strike the written affidavit of objections of creditor Colonial Health Group-Westridge, LLC,

D/B/A Marlborough Hills Healthcare center and the affidavit of objections of Jerome Sweeney II

pursuant to G.L. Chapter 190B Scction 1-401(e)

         481.      On January 21, 2014, Attorney Gerard M. Mahaney, the named executor under

the wills of the Oultons, prepared an affidavit (Exhibit 164). The affidavit states that Attorney

Mahaney was a personal friend of the Oultons. Mr. Mahaney was not notified of the death of the

Oultons until December 6, 2013, when he received a phone call from David Bartley.

Mr. Mahaney states that until this date he was unaware that he was named to serve as successor

executor to his older brother John Mahaney. Mahaney states that at no time prior to being

advised by Bartley was he made aware of his nomination. He further states that no person has

contacted him or asked him to fulfill the duties incumbent upon him via the will of Carol Oulton

and that he would have served if asked or notified.

         482.      On January 21, 2014, Michael Couture in his capacity as personal representative

for the estate of Carol Oulton, received a check (Exhibit 165) in the amount of $72.23 from

MctLife.


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           483.      On January 24, 2014, at 9:40 p.m. Attorney Couture sent an email (Exhibit 166)

to David Bartley containing the following:

                     David,
                     I am attaching the inventory and a draft accounting for the Oulton
                     estate. The inventory is accurate-I will sign and deliver it. The
                     accounting has a $.60 discrepancy so I will go through this again to
                     find it. This is a.draft accounting and I can bring an updated
                     version Thursday.

                     Schedule C on the accounting reflects a current account balance of
                     $290,211.09. I will file a motion for partial distribution of $70,000
                     per heir of Carol Oulton, for a total partial disbursement of
                     $280,000.00.

                    I am also attaching the backup draft accounting for your files, you
                    may already have some of these. 1. Mirick O'Connell accounting
                    of funeral/burial expenses and delivery of remainder assets to
                    personal representative 2. Check from Mirick to personal
                    representative 3. Delivery of funds from Hansom credit union
                    accounts x2 4. Middlesex Savings Printout for acct #8081 5.
                    Brookline Municipal Credit Union (December 2012 and October
                    2013 statements) 6. Federal employees life insurance payment 7.
                    MetLife check for sale of common stock 8. Check to Ackerman
                    Monument 9. Check to Allen Bush


          484.       The Bank Records provided by Attorney Couture (Exhibit 167) appear to be

forged and upon information and belief not an accurate reflection of the Oultons' Bank accounts

at Century Bank.

          485.      On January 27, 2014, Michael Couture signed under the penalties of perjury an

inventory (Exhibit 168) in the estate of the Estate of Carol Jane Oulton listing the following

items:

                    Peoples United Bank Acct. #7262 IOLTA Account at Mirick
                    O'Connell $216,026.29


                    Middlesex savings Bank #8081 $38.230.64 and account # 0156
                    $154.91

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